         Case 4:01-cr-40082-JPG                       Document 99            Filed 12/20/06                 Page 1 of 2         Page ID #85
% A 0 245D      (Rev. 12103) Judgment in a Criminal Case fur Revocations
                Sheet 1




                        SOUTHERN                                      District of                                    ILLINOIS

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                   TONYA K VINSON
                                                                             Case Number:              4:01 CR40082-002-JPG
                                                                             USM Number: 05372-025                                         t     o

                                                                              Judith A Kuenneke, FPD                  ,             A,               ,L


                                                                             Defendant's Attorney
THE DEFENDANT:
[a' admitted guilt to violation of condition(s) as alleged in petition                              of the term of
     was found in violation of condition(s)                                                 after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                                Violation Ended
 Statutory                           T h e defendant committed t h e offense of Forergy                                 31112006
 Standard # I                        T h e defendant left t h e judicial district without permission                    2/17/2006
 Standard # 2                        T h e defendant failed to submita written monthly report                           2/28/2006
 Standard # 6                        T h e defendant failed to report loss of employment                                10/21/2005

       The defendant is sentenced as provided in pages 2 through                    2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition,

          It is ordered that the defendant must noti the United Sfates attorney for this district within 30,days of any ,
                                                           ";
change of name, residence, or mailing address untl all fines, restltutlon, costs, and special assessments ~mposedby thls judgment are
fully pald. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant's S o c Sec No.:     XXX-XX-XXXX                                    11/30/2006
                                                                             Date of imposition of Judgment
Defendant's Date of Birth:     11/27/1972


                                                                             Signature of     dge
Defendant's Residence Address:

501 East Main, Karnak. IL 62956
                                                                              J. Phil Gilbert                                   District J u d g e
                                                                             Name o f Judge                                     Title of Judge
                                                                                h




Defendant's Mailing Address:

S a m e as a b o v e
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  A 0 245D   (Rev. 12103 Judgment in a Crlrninal Case for Revocatio~~s
             Sheet 2- Imprisonment



  DEFENDANT: TONYA K. VINSON
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                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term o f :
24 months




       &ifThe court makes the following recommendations to the Bureau o f Prisons:
That the defendant be placed in the Intensive Drug Treatment Program.



       I$ The defendant is remanded to the custody of the United States Marshal

          The defendant shall surrender to the United States Marshal for this district:
               at                                       a.m.             p.m.    on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.

                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

  at                                                  with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHA!,



                                                                                By
                                                                                                DEPUTY UNITED STATES MARSHAL
